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              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

JEFFREY SEMLER,                          )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )      Case No. CIV-11-1354-D
                                         )
GEICO GENERAL INSURANCE                  )
COMPANY,                                 )
                                         )
       Defendant.                        )


                           FINAL PRETRIAL REPORT

All counsel who will appear at trial:

Appearing for Plaintiff:    Tye H. Smith, Esq.
                            CARR & CARR
                            1350 S.W. 89th Street
                            Oklahoma City, OK 73159
                            405/234-2110
                            405/234-2128 (Fax)
                            tsmith@carrcarrokc.com

Appearing for Defendant: Gerard F. Pignato, Esq.
                         Paul M. Kolker, Esq.
                         PIGNATO COOPER KOLKER & ROBERSON
                         119 N. Robinson Avenue, 11th Floor
                         Oklahoma City, OK 73102
                         405/606-3333
                         405/606-3334 (Fax)
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       JURY TRIAL DEMANDED.

1.     BRIEF PRELIMINARY STATEMENT. State briefly and in ordinary
       language the facts and positions of the parties (appropriate for use during jury
       selection in jury cases).
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        The parties in this case are the plaintiff, Jeffrey Semler, and the defendant,
GEICO General Insurance Company (hereinafter referred to as GEICO). The parties
agree that GEICO was Jeffrey Semler’s automobile insurer on August 25, 2010. The
parties also agree that Jeffrey Semler’s automobile insurance policy with GEICO
included uninsured motorist coverage. The parties also agree that the uninsured
motorist coverage with GEICO provided coverage for any damages suffered by
Jeffrey Semler as a result of any personal injuries Jeffrey Semler may suffer as a
result of the negligent ownership, maintenance or use of a motor vehicle, if the owner
or operator of the motor vehicle is either uninsured or cannot be identified. The
parties also agree that Jeffrey Semler was involved in a motor vehicle accident on the
night of August 25, 2010. The parties agree that the accident took place after dark
while Jeffrey Semler was driving his 2005 Ford Expedition east on Highway 3 in
Canadian County, Oklahoma as he approached a bridge. The parties agree that a tire
tread was found in Jeffrey Semler’s lane of travel immediately after the accident
occurred. The parties further agree that Jeffrey Semler suffered injury as a result of
the accident.

        Plaintiff, Jeffrey Semler, claims that the collision occurred due to the
negligence of an unidentified large commercial truck or semi-tractor/trailer. As a
result, Jeffrey Semler claims his vehicle impacted the tire tread and was thrown into a
guardrail and caused him to spin off the roadway and suffer a broken finger, a
lacerated hand and injuries to his back and neck. Jeffrey Semler claims that as a
result of the negligence of the unknown vehicle’s owner or operator, he suffered
personal injuries for which his insurance company, GEICO, is obligated to pay him
under the terms of his policy with GEICO.

       GEICO denies these allegations and claims that Jeffrey Semler cannot prove
that the unidentified truck was a hit and run motor vehicle, or that he was injured due
to the negligence of an unidentified owner or operator of a motor vehicle. GEICO
claims that Jeffrey Semler’s own negligence was the sole cause of the accident and
that his back injuries were not caused by the accident of August 25, 2010.
Specifically, GEICO contends that, at best, Plaintiff’s lumbar injury constitutes an
aggravation of a preexisting condition.

2.    JURISDICTION. The basis on which the jurisdiction of the Court is invoked.

      This case was removed to this Court pursuant to 28 U.S.C. §1441 and §1446.
      Jurisdiction is proper pursuant to 28 U.S.C. §1441(a) on the grounds that the
      Federal Court has diversity jurisdiction under 28 U.S.C. §1332.

3.    STIPULATED FACTS. List stipulations as to all facts that are not disputed
      or reasonably disputable, including jurisdictional facts.


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      A.    Venue is proper.

      B.    Plaintiff was involved in an automobile accident on August 25, 2010.

      C.    At the time of Plaintiff’s accident, Plaintiff had in force a policy of
            insurance issued by GEICO which provided uninsured motorists
            coverage benefits to Plaintiff.

      D.    Jeffrey Semler sustained some degree of injury in the accident.

      E.    The collision occurred at approximately 11 pm.

      F.    A tire tread was found in the roadway immediately after the accident
            occurred.

      G.    No vehicle or driver was ever identified as leaving the tire tread in the
            roadway.


      H.    Geico’s insurance policy with Jeffrey Semler states: Under the
            Uninsured Motorists Coverage, we will pay damages for bodily injury
            caused by accident which an insured is legally entitled to recover from
            the owner or operator of an uninsured motor vehicle or a hit-and-run
            motor vehicle arising out of the ownership, maintenance or use of that
            auto. The amount of the insured’s recovery for these damages will be
            determined by agreement between the insured or his representative and
            GEICO.

            Hit-and-run motor vehicle is a motor vehicle causing bodily injury to an
            insured, and whose owner or operator cannot be identified.


            (This stipulation is for the Court only and not to be disclosed to the jury)
            In addition to Stipulation H, Geico’s insurance policy with Jeffrey
            Semler states:

                   The dispute may be arbitrated if an agreement cannot be reached.

4.    LEGAL ISSUES. State separately, and by party, each disputed legal issue
      and the authority relied upon.

      A.    Pending Motions in Limine.


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      B.      Scope of Voir Dire and incorporation of proposed voir dire questions
              submitted by the parties.

      C.      Plaintiff believes a legal issue exists regarding how the jury should be
              instructed on the issue of what constitutes a “hit-and-run motor vehicle”.
              To avoid confusion by the jury, since one of the primary issues in this
              case is whether Plaintiff suffered injury as a result of a “hit-and-run
              motor vehicle”, based upon the Oklahoma Supreme Court’s ruling in
              Biggs v State Farm, the Court should instruct the jury that “hit-and-run”
              does not require any actual physical impact between an unidentified
              vehicle and the Plaintiff’s vehicle per the requested jury instruction
              submitted by the Plaintiff.

5.    CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
      SOUGHT.

      Plaintiff: Plaintiff is entitled to an award in his favor against Defendant for:

           A. Damages Plaintiff has suffered as a result of the negligence and/or
              negligence per se of the owner and/or operator of an unidentified
              vehicle, consisting of:

                     1.     Past and future mental and physical pain and suffering;
                     2.     Past and future physical pain and suffering;
                     3.     Temporary and permanent injuries;
                     4.     Loss of enjoyment of life;
                     5.     Aggravation of a pre-existing condition;
                     6.     Physical impairment; and
                     7.     Past and future medical expenses.

           B. Defendant’s breach of the insurance contract.

      Defendant:

      A.      GEICO denies it has breached its contract with Plaintiff.

      B.      GEICO contends that the unidentified truck was not a hit-and-run
              motor vehicle.

      C.      The evidence does not demonstrate that Plaintiff’s accident was caused
              as a result of the negligence of a hit-and-run motor vehicle.


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      D.    The evidence does not demonstrate that the tire tread separated from a tire
            due to negligent maintenance of the tire by the owner or operator of a hit-and-
            run motor vehicle.

      E.    The evidence does not demonstrate that the operator of the hit-and-run
            motor vehicle knew or should have known that he/she lost a tire tread that
            was eventually struck by the Plaintiff.

      F.    The evidence demonstrates that the subject accident was proximately
            caused as a result of the negligence of the Plaintiff in failing to pay
            attention to the roadway and in driving at an excessive speed.

      G.    The evidence demonstrates that any injury suffered by Plaintiff as a
            result of this accident would have been avoided if Plaintiff had properly
            reacted to the tire tread lying in the roadway before and after he struck
            it.

      H.    The evidence will demonstrate Plaintiff had preexisting conditions and
            injuries involving the same body parts at issue in the present case. As
            such, Plaintiff cannot show that it is more probable than not that his
            claims of injury were caused by the accident of August 25, 2010.
      I.    The evidence does not demonstrate that Plaintiff suffered a new back
            injury as a result of the accident of August 25, 2010.

      J.    The evidence demonstrates that any alleged injuries Plaintiff claims to
            have suffered to his lumbar spine in the accident of August 25, 2010
            were not permanent and have fully resolved.

      K.    At best, Plaintiff’s lumbar injury constitutes an aggravation of a pre-
            existing condition.

      L.    GEICO has filed several Motions in Limine. GEICO adopts and
            incorporates the arguments set forth in those Motions in Limine as
            though fully set forth herein.

6.    EXHIBITS. The following exclusionary language MUST be included:

      Unlisted exhibits will not be admitted unless, by order of the court, the final
      pretrial order is amended to include them.



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       A.   Plaintiff: (Premarked for trial and exchanged as required under LCvR
39.4(a))

No.    Title/Description                Doc. ID No.     Objection

 1.    Schedule A - List of Medical                     402
       Bills of Jeffrey Semler

 2.    Medical   Bills     of   Jeffrey 001 - 002       402
       Semler                           003
                                        004
                                        005 - 007
                                        008
                                        009 - 011
                                        015
                                        012

 3.    Schedule B - List of Medical                     402
       Records of Jeffrey Semler

 4.    Medical Records of Jeffrey 2129 - 2136           402
       Semler                     2017 - 2053
                                  2000 - 2016
                                  2056 - 2075
                                  2076 - 2079
                                  2080 - 2090
                                  2091
                                  2092
                                  2093 - 2094
                                  2101 - 2104
                                  2095 - 2100

 5.    Larry Owen Photographs           4053 - 4061     See GEICO’s Motion in
                                                        Limine [DOC. No. 121].
 6.    Bill Uselton Photographs   4003 - 4010
 7.    Photographs of Plaintiff’s 4000 - 4002
       Vehicle




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       B.   Defendant:     (Premarked for trial and exchanged as required under
       LCvR 39.4(a))

NO.          TITLE/DESCRIPTION                    DOC. ID NO.         OBJECTION

1.     GEICO insurance policy, less the         DEFENDANT’S     None per agreement
       dec page                                 TRIAL EXHIBIT   with Defense Counsel as
                                                01 001-024      to limited policy
                                                                provisions to be
                                                                submitted
2.     Plaintiff’s pre-accident medical         DEFENDANT’S
       records from Alexander                   TRIAL EXHIBIT
       L’Heureux, M.D.                          02 001-016
3.     Plaintiff’s pre-accident medical         DEFENDANT’S     Plaintiff objects to the
       records from Springs Internal            TRIAL EXHIBIT   lower half of page 002
       Medicine                                 03 001-003      of this exhibit being
                                                                included as a “pre-
                                                                accident” medical
                                                                record as that note
                                                                (hand-written notes
                                                                regarding prescriptions)
                                                                was created after the
                                                                accident as confirmed
                                                                by the corresponding
                                                                prescription record
                                                                dated 3/07/11 found at
                                                                Defendant’s Exhibit 22-
                                                                001
4.     Withdrawn

5.     Curriculum Vitae of Alexander            DEFENDANT’S
       L’Heureux, M.D.                          TRIAL EXHIBIT
                                                05 001-005
6.     Withdrawn
7.     Withdrawn
8.     Transcript of Plaintiff’s recorded       DEFENDANT’S     Potentially proper for
       statement taken on December 20,          TRIAL EXHIBIT   impeachment only.
       2010                                     08 001-005      Otherwise, cumulative,
                                                                irrelevant, misleading,
                                                                unfairly prejudicial

                                                                Fed. R. Evid. 401, 402,
                                                                403

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NO.          TITLE/DESCRIPTION                    DOC. ID NO.         OBJECTION

9.     Audio from Plaintiff’s recorded          DEFENDANT’S     Potentially proper for
       statement taken on December 20,          TRIAL EXHIBIT   impeachment only.
       2010                                     09 001          Otherwise, cumulative,
                                                                irrelevant, misleading,
                                                                unfairly prejudicial

                                                                Fed. R. Evid. 401, 402,
                                                                403
10.    Photographs of Plaintiff’s vehicle       DEFENDANT’S
                                                TRIAL EXHIBIT
                                                10 001-006
11.    Daytime photographs of accident          DEFENDANT’S
       scene taken by Larry Owen                TRIAL EXHIBIT
                                                11 001-005
12.    Daytime photographs of accident          DEFENDANT’S
       scene taken by William Kennedy,          TRIAL EXHIBIT
       P.A.                                     12 001-003

13.    Nighttime photographs of accident DEFENDANT’S            Relevance, unfairly
       at night William Kennedy, P.A.    TRIAL EXHIBIT          prejudicial, confusing,
                                         13 001-002             misleading, authenticity.

                                                                Fed. R. Evid. 401, 402,
                                                                403, 901
14.    Diagram/aerial view of accident          DEFENDANT’S
       scene created by William                 TRIAL EXHIBIT
       Kennedy, P.A.                            14 001
15.    Plaintiff’s MRI report from              DEFENDANT’S
       Vantage Diagnostic Imaging dated         TRIAL EXHIBIT
       September 15, 2010                       15 001-002
16.    Plaintiff’s MRI films from               DEFENDANT’S     Plaintiff objects to
       Vantage Diagnostic Imaging,              TRIAL EXHIBIT   images on CD being
       dated September 15, 2010                 16 001-023      given to jury as
                                                                improper
17.    Curriculum Vitae of William              DEFENDANT’S
       Kennedy, P.A.                            TRIAL EXHIBIT
                                                17 001-002
18.    Withdrawn

19.    GEICO Activity Log note, dated           DEFENDANT’S     This exhibit is
       August 27, 2010                          TRIAL EXHIBIT   inadmissible as

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 NO.               TITLE/DESCRIPTION                    DOC. ID NO.          OBJECTION

                                                      19 001           irrelevant, confusing,
                                                                       cumulative, misleading,
                                                                       unfairly prejudicial,
                                                                       authenticity, hearsay.

                                                                       Fed. R. Evid. 401, 402,
                                                                       403, 801, 802, 901; see
                                                                       Motion in Limine too
     20.     Plaintiff’s post-accident medical        DEFENDANT’S
             records from Integris Bass Baptist       TRIAL EXHIBIT
             Hospital                                 20 001-007
     21.     Plaintiff’s post-accident medical        DEFENDANT’S
             records from Accident Care and           TRIAL EXHIBIT
             Treatment Centers                        21 001
     22.     Plaintiff’s pharmacy records from        DEFENDANT’S
             Medic Pharmacy                           TRIAL EXHIBIT
                                                      22 001-008
     23.     Plaintiff’s x-ray films from             DEFENDANT’S      No objection to prints.
             Alexander L’Heureux, M.D.,               TRIAL EXHIBIT    Plaintiff objects to
             dated January 12, 2006                   23 001-002       images on CD being
                                                                       given to jury as
                                                                       improper
     24.     Plaintiff’s x-ray films from             DEFENDANT’S      No objection to prints.
             Alexander L’Heureux, M.D.,               TRIAL EXHIBIT    Plaintiff objects to
             dated July 16, 2013                      24 001-002       images on CD being
                                                                       given to jury as
                                                                       improper
     25.     Withdrawn

     26.     Withdrawn

     27.     Commercial Medium Tire Debris            DEFENDANT’S      No objection to proper
             Study published by the U.S.              TRIAL EXHIBIT    use at trial pursuant to
             Department of Transportation,            27 001-235       FRE 803(18), but should
             dated December 2008                                       not be admitted

7.          WITNESSES: The following exclusionary language MUST be included:

            Unlisted witnesses in chief will not be permitted to testify unless, by order of
            the court, the final pretrial order is amended to include them.


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      A.    Plaintiff:

NO.               NAME/ADDRESS                     PROPOSED TESTIMONY
1.      Jeffrey Semler                      Facts and circumstances of collision
        c/o Tye H. Smith                    and damages.
        Carr & Carr
        1350 S.W. 89th Street
        Oklahoma City, OK 73159

2.      Tamela Semler                       Facts and circumstances of collision
        c/o Tye H. Smith, Esq.              and plaintiff’s damages.
        CARR & CARR
        1350 S.W. 89th Street
        Oklahoma City, OK 73159

3.      Trooper Dallas Edwards              Knowledge regarding facts and
        Oklahoma Highway Patrol             circumstances of this collision, the
        Troop A, 2480 W. I-240 Frontage     collision scene and surrounding area
        Road Oklahoma City, OK 73159

4.      David Craig                         Knowledge regarding facts and
        3520 N.W. Expressway                circumstances of this collision, the
        Okarche, OK 73762                   collision scene and surrounding area

5.      Larry Owen                          Accident reconstruction. Deposed.
        1745 W. Burr Oak Road               See Expert Report and deposition.
        Norman, OK 73072

6.      Bill Uselton                        Trucking expert. Deposed. See
        11409 Mackel Drive                  Expert Report and deposition.
        Oklahoma City, OK 73170

7.      Dr. Scott Mitchell, DO              Video Deposition. Plaintiff’s
        Oklahoma City, OK                   diagnosis, care and treatment.

8.      Carrie Sigler (or any other GEICO   Defendant’s position on facts and
        representative who sponsors         issues in case; Answer questions
        Defendant’s Exhibit 19)             about Defendant’s Exhibit 19
9.      GEICO representative at counsel     Defendant’s position on facts and
        table                               issues in case; Answer questions
                                            about Defendant’s Exhibit 19



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          B.       Defendant:

 NO.                     NAME/ADDRESS                        PROPOSED TESTIMONY
  1.           David Craig                            Recorded statement; appeared upon
               Post Office Box 70                     the scene of the accident shortly
               Okarche, Oklahoma 73762                thereafter; conversation with
                                                      Plaintiff; observation of tire tread.

     2.        Gary Bolden                            Cause of tire tread separations; see
               Standards Testing Laboratories, Inc.   Expert Report dated May 16, 2012
               Post Office Box 758
               1845 Harsh Avenue SE
               Massillon, Ohio 44648

     3.        Gary Janzen                            Question whether a truck driver
               7517 Northwest 28th Street             always or usually knows he/she has
               Bethany, Oklahoma 73008                lost a tire tread on a trailer. See
                                                      Expert Report dated May 16, 2012.

     4.        William Kennedy                        Expert accident reconstructionist. See
               233 South Lulu                         Expert Report dated May 16, 2012.
               Wichita, Kansas 67211

     5.        E. Alexander L’Heureux, Jr., M.D.      Nature, extent and causation of
               1405 Northwest 150th Street            Plaintiff’s alleged injuries as set forth
               Edmond, Oklahoma 73013                 in his Expert Report dated July 16,
                                                      2013. Trial deposition obtained on
                                                      October 9, 2013.

     6.        Carrie Sigler                          Identification and authentication of
               GEICO                                  GEICO activity log note dated
               Dallas, Texas                          August 27, 2010

     7.        Richard Ingling                        Identification and authentication of
               GEICO                                  GEICO activity log note dated
               Dallas, Texas                          August 27, 2010

8.        ESTIMATED TRIAL TIME:

          A.       Plaintiff’s Case: Two (2) days.

          B.       Defendant’s Case: One (1) day.


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9.     BIFURCATION REQUESTED: Not applicable.

10.    POSSIBILITY OF SETTLEMENT: Poor.


      All parties approve this report and understand and agree that this report
supersedes all pleadings, shall govern the conduct of the trial, and shall not be
amended except by order of the Court.


                                /s/ Tye H. Smith
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                                COUNSEL FOR PLAINTIFF


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                                COUNSEL FOR DEFENDANT




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